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    16
    17                             UNITED STATES DISTRICT COURT
    18              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    19
       LA ALLIANCE FOR HUMAN                               CASE NO. 2:20-cv-02291 DOC-KES
    20 RIGHTS, et al.,
    21                                                     EX PARTE APPLICATION TO
                  Plaintiffs,                              STAY COURT’S APRIL 20, 2021
    22                                                     ORDER [DKT. 277] PENDING
            v.                                             APPEAL
    23
    24 CITY OF LOS ANGELES, et al.,
                                                           Assigned to the Hon. David O. Carter
    25                    Defendants.                      and Magistrate Judge Karen E. Scott
    26
    27
    28
         508463.3                                                         Case No. 2:20-cv-02291 DOC-KES
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     1 TO THE COURT, ALL PARTIES AND THEIR RESPECTIVE COUNSEL
     2 OF RECORD:
     3              PLEASE TAKE NOTICE that Defendant County of Los Angeles
     4 (“County”) hereby applies to the Court ex parte for an order staying the Court’s
     5 April 20, 2021 Order issuing a preliminary injunction [Dkt. 277] while the County’s
     6 appeal is pending.
     7              Good cause supports this ex parte application. Less than 24 hours after the
     8 County, City of Los Angeles (“City”), and Intervenors Cangress and Los Angeles
     9 Catholic Worker (“Intervenors”) filed oppositions to Plaintiffs’ motion for a
    10 preliminary injunction (“Motion”), and without a hearing, the Court issued a 110-
    11 page ruling (“Order”) granting the Motion. The Court ordered extraordinary relief
    12 which, if implemented, would interrupt the County’s current efforts to address the
    13 homelessness crisis. Among other things, the Order: (i) mandates the cessation of
    14 sales and transfers of any (not yet identified) County property that could be used for
    15 housing and sheltering people experiencing homelessness (“PEH”); (ii) orders the
    16 County to divert its resources from helping people across the County, and focus
    17 them on sheltering or housing for PEH living in Skid Row; and (iii) directs the
    18 County to audit all funds received from local, state, and federal entities, along with
    19 any funds committed to mental health and substance use disorder treatment.
    20 Deadlines start as early as this week. The Order goes beyond what Plaintiffs
    21 requested in the Motion and what they alleged in their Complaint, and thus beyond
    22 what the County, City, and Intervenors had an opportunity to address.
    23 Notice of Ex Parte Application
    24              On April 22, 2021, the County provided notice, in accordance with Local
    25 Rule 7-19, to Plaintiffs LA Alliance for Human Rights, Joseph Burk, Harry
    26 Tashdjian, Karyn Pinsky, Charles Malow, Charles Van Scoy, George Frem, Gary
    27 Whitter, and Leandro Suarez (collectively, “Plaintiffs”), along with Intervenors, of
    28 this ex parte application via email and voicemail. (Declaration of Mira Hashmall
         508463.3
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     1 (“Hashmall Decl.”) ¶ 2.) Intervenors stated that they did not oppose the application.
     2 (Id. ¶ 4.) Plaintiffs stated that they would oppose. (Id. ¶ 5.) The City is filing its
     3 own ex parte application.
     4              Counsel for the parties in this case are as follows:
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     4
     5
     6              This Ex Parte Application is based on the application, the Memorandum of
     7 Points and Authorities, the supporting Declarations of Mira Hashmall, Cheri
     8 Todoroff, Matt McGloin, and Vanessa Moody, the pleadings and records on file in
     9 this action, and any further evidence or argument received by the Court in
    10 connection with the Motion.
    11
    12 DATED: April 23, 2021                       MILLER BARONDESS, LLP
    13
    14
                                                   By:
    15
                                                          LOUIS R. MILLER
    16                                                    Attorneys for Defendant
                                                          COUNTY OF LOS ANGELES
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  1                     MEMORANDUM OF POINTS AND AUTHORITIES
  2 I.           INTRODUCTION
  3              Like the Court, the County of Los Angeles (“County”) is committed to
  4 addressing and improving the lives of people experiencing homelessness (“PEH”).
  5 But the Court’s April 20, 2021 preliminary injunction order (“Order”) is not the way
  6 to do it. The Order relies on inadmissible evidence, misstates critical facts, and
  7 grants relief far beyond what Plaintiffs requested in their motion (“Motion”) and
  8 prayed for in their Complaint.
  9              Worse, the Order usurps the role and function of elected municipal officials.
 10 It exceeds by a great deal the power and authority of the federal courts. And it will
 11 degrade, not improve, the plight of thousands of PEH outside of Skid Row.
 12              Federal district courts are tasked with adjudicating disputes between litigants.
 13 Yet, by virtue of the Order, which relies on newspaper articles, editorials, and other
 14 inadmissible evidence, which was not provided to the County beforehand, the Court
 15 has effectively taken over the County’s homeless services operations on Skid Row.
 16 This contravenes binding Supreme Court precedent.
 17              Under the law, a stay of this Order is necessary and appropriate.
 18              (1) The County is likely—we believe almost certain—to prevail on appeal.
 19 The Court has far exceeded its Article III power to adjudicate cases and
 20 controversies. Federal courts are not supposed to usurp legislative functions and
 21 thereby violate separation of powers; and that is what the Court has done here.
 22              (2) The County, the public, and the very PEH the Order purports to help, will
 23 be harmed absent a stay. There are over 2,000 unhoused PEH in the Skid Row area
 24 the Order addresses (over 2,000 PEH in Skid Row are sheltered). There are over
 25 40,000 unhoused PEH elsewhere in the County. The County’s system is
 26 intentionally organized to equitably distribute resources throughout the region.
 27 Compliance with the Order would require the diversion of significant resources,
 28 which would deprive other PEH of critically needed services and care.
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  1              (3) A stay will not harm anybody. The County will continue delivering
  2 services to PEH throughout the region. The status quo will not be interrupted. And
  3 it is not at all clear the PEH on Skid Row would even accept forced relocation.
  4              (4) The public interest supports—we think mandates—a stay. In 2015, the
  5 County created its Homeless Initiative with 47 criteria and $100 million. In 2016, it
  6 declared a fiscal emergency and set the stage for Measure H. In 2017, Measure H
  7 was adopted by a vote of the people, generating over $350 million a year and
  8 dramatically increasing the services provided to PEH. And in the ensuing years, as
  9 this very Court has acknowledged, the County has crafted policies and implemented
 10 services, through substantial stakeholder engagement and the coordination and
 11 cooperation of multiple County departments, which have vastly helped PEH. The
 12 Order effectively puts these services under the supervision of the Court and raises
 13 the specter of mass confusion and disruption.
 14              The County understands, appreciates, and shares the Court’s desire for
 15 additional housing on Skid Row. But a judicial takeover, through an expansive and
 16 in many respects vague mandatory injunction, is not the way to do it. This is a
 17 human problem on a massive scale. There is no one size fits all solution. Each
 18 person has their own unique issues. Each person has to be met with humanity and
 19 compassion. That is exactly what the County is doing on a Countywide basis.
 20              The County respectfully requests that the Court stay the Order pending appeal
 21 in all respects as to the County.
 22 II.          PROCEDURAL HISTORY
 23              On March 10, 2020, Plaintiffs filed this action against the County and the
 24 City. Plaintiffs LA Alliance for Human Rights (“LA Alliance”), Charles Van Scoy,
 25 Harry Achadjian, George Frem, Leandro Suarez, Joseph Burk, Gary Whitter, Karyn
 26 Pinsky, and Charles Malow (collectively, “Plaintiffs”) are business owners and
 27 former PEH from the Skid Row area of Los Angeles. (Compl. ¶¶ 76-122.) The
 28 Complaint asserts federal constitutional and state law claims.
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  1              On March 19, 2020, the Court held an emergency status conference in light of
  2 COVID-19. [Dkt. 90.] At the conference, the parties agreed to stay the litigation in
  3 order to work with the Court to explore settlement. [Id. at 116:19-117:22.] Since
  4 that time, the parties have engaged in extensive settlement negotiations and have
  5 participated in a number of public status conferences at the Court’s request.
  6              On May 15, 2020, the Court issued a sua sponte preliminary injunction
  7 ordering the County and City to find housing or shelter for PEH living near
  8 freeways. [Dkt. 108.] On May 22, 2020, the Court issued a revised order directing
  9 the City and County to “humanely relocate” PEH near freeways “by no later than
 10 September 1, 2020.” [Dkt. 123.] The Court subsequently vacated the order, without
 11 prejudice, when Defendants agreed to provide 6,700 beds and prioritize PEH near
 12 freeways. [Dkt. 138.] Mediations and public status conferences continued.
 13              On March 5, 2021, Plaintiffs filed a notice of intent to file a motion for
 14 preliminary injunction. [Dkt. 240.] On March 29, 2021, the County filed a motion
 15 to dismiss. [Dkt. 256-260.] On April 12, 2021, Plaintiffs filed a motion for
 16 preliminary injunction (“Motion”). [Dkt. 265.]
 17              On April 19, 2021, the County, City, and Intervenors each filed an opposition
 18 to the Motion. [Dkt. 269-275.]
 19 III.         THE PRELIMINARY INJUNCTION
 20              In the Motion, Plaintiffs asked for extraordinary, mandatory relief. [Dkt.
 21 265.] They asked the Court to direct the County to upend implementation of its
 22 long-term plan to address homelessness throughout the region, and instead focus its
 23 efforts on clearing and “decompressing” Skid Row. Specifically, Plaintiffs asked
 24 the Court to order the City and County to offer shelter or other alternative housing
 25 options to all PEH who live in Skid Row within 90 days, permitting the City to
 26 commence enforcement efforts thereafter. Among other things, Plaintiffs asked the
 27 Court to order the City and County to: (i) ensure that housing is not concentrated in
 28 the “containment area”; (ii) adhere to certain requirements when contracting with
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  1 private organizations to provide shelter or housing; (iii) provide support services
  2 (County) and operational services (County/City); (iv) fund audits of Proposition
  3 HHH, MHSA, Measure H, and LAHSA; and (v) submit to the jurisdiction of a
  4 Special Master, to be paid by the City/County. Their 10-part plan also required the
  5 City and County to identify land for the Court to consider for seizure.
  6              The Court’s Order goes far beyond the requested relief:
  7        By Tuesday, April 27, 2021 at 8:00 a.m. Supervisor Hilda Solis shall submit a
            report to the Court explaining why an emergency declaration has not issued.
  8
  9        Within 30 days, the County shall conduct an audit of any funds committed to
 10         mental health (MH) and substance use disorder (SUD) treatment.

 11        Within 30 days, with regard to MH and SUD beds, the County shall report to
 12         the Court on the progress towards establishing the 1,508 new sub-acute beds
            to accommodate the needs of the non-jail population and an additional
 13         1,418 new sub-acute beds to accommodate those with substance abuse
 14         disorders being diverted from the jails.

 15        Within 30 days, the City and County shall prepare a report on the status of
 16         Projects Homekey and Roomkey, with a specific focus on the geographic and
            racial distribution of project sites and beneficiaries.
 17
 18        Within 90 days, conduct an audit of all funds received from local, state, and
            federal entities intended to aid the City and/or County in solving or alleviating
 19         the problem of homelessness.
 20
           The cessation of sales, transfers by lease or covenant, of all land potentially
 21
            available for housing and sheltering the homeless held by the County.
 22
 23        Within no more than 90 days, the City and County must offer and, if
            accepted, provide shelter or housing immediately to all unaccompanied
 24         women and children living in Skid Row; within 120 days, to all families
 25         living in Skid Row; and within 180 days, to the general population living in
            Skid Row.
 26
 27        The County shall, no later than within 90 days, offer and, if accepted, provide
            to all individuals within Skid Row who are in need of special placement
 28         through the Department of Mental Health or Department of Public Health
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  1              appropriate emergency, interim, or permanent housing and treatment
                 services. The County shall work with providers to build meaningful
  2
                 relationships with homeless individuals to ensure that these individuals are
  3              fully informed of their options for services, housing, and shelter. Within 10
                 days, the County shall provide to the Court a list of providers who are already
  4
                 established in the area and who will be working with the County.
  5
  6        The County shall provide, or fund third parties to provide, support services to
            all homeless residents who accept the offer of housing. The County and City
  7         shall evenly split the cost of providing operational services.
  8
           The City and County shall prepare a plan that ensures the uplifting and
  9         enhancement of Skid Row without involuntarily displacing current residents
 10         to other parts of the City or County. Moving forward, the City and County
            are encouraged to develop a hyper-local approach with community-based
 11         organizations throughout each district, including the Skid Row Advisory
 12         Council.

 13        The Court will appoint a Special Monitor/Master, Michele Martinez, at the
 14         City and County’s expense, to assist with the implementation of the Order and
            to resolve disputes among the parties or other interested parties. The City and
 15         County shall meet and confer with the Special Monitor/Master within three
 16         days to agree upon her reasonable compensation.
 17        Within 10 days, the County and City shall meet with the Special
 18         Monitor/Master to receive her input regarding independent auditors and
            investigators.
 19
 20              On April 22, 2021, the Court “clarified” the scope of the Order. [Dkt. 279.]
 21
      IV.        LEGAL STANDARD
 22              Courts consider four factors when evaluating whether to issue a stay pending
 23 appeal: (1) whether the stay applicant has made a showing that it is likely to succeed
 24 on the merits; (2) whether the applicant will be irreparably injured absent a stay; (3)
 25 whether issuance of the stay will substantially injure the other parties interested in
 26 the proceeding; and (4) where the public interest lies. Mi Familia Vota v. Hobbs,
 27 977 F.3d 948, 952 (9th Cir. 2020) (citation omitted) (granting stay pending appeal).
 28
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  1              A stay is necessary here. The County is likely to succeed on the merits of its
  2 appeal, the County and the public will be irreparably injured absent a stay, and
  3 Plaintiffs will not be injured by the stay.
  4 V.           THE COURT SHOULD ISSUE A STAY PENDING APPEAL
  5              A.    The County Is Likely To Succeed On The Merits
  6              Likelihood of success on the merits is the “most important” factor courts
  7 consider when deciding whether to grant a stay. Mi Familia, 977 F.3d at 952. The
  8 County is likely to prevail: (i) the Order is substantively flawed and procedurally
  9 defective; (ii) Plaintiffs lack standing; (iii) the claims the Order relies on are not
 10 pleaded in the Complaint and fail as a matter of law; (iv) Plaintiffs did not establish
 11 irreparable harm and made no showing on the remaining elements; and (v) the Order
 12 is impermissibly vague.
 13                    1.     The Order Is Substantively Flawed and Procedurally
 14                           Improper
 15                           (a)    The County Did Not Have Adequate Notice
 16              A preliminary injunction may be issued “only on notice to the adverse party.”
 17 Fed. R. Civ. P. 65(a)(1). This notice requirement “has constitutional as well as
 18 procedural dimensions.” Qureshi v. United States, 600 F.3d 523, 526 (5th Cir.
 19 2010) (citation omitted); Anderson v. Davila, 125 F.3d 148, 156 (3d Cir. 1997) (the
 20 notice requirement is “a fundamental aspect of procedural due process under the
 21 Constitution”). The defendant must be “given a fair opportunity to oppose the
 22 application and to prepare for such opposition,” including time to marshal the
 23 evidence. Granny Goose Foods, Inc. v. Bhd. of Teamsters & Auto Truck Drivers
 24 Local No. 70 of Alameda Cty., 415 U.S. 423, 432 n.7 (1974); Weitzman v. Stein, 897
 25 F.2d 653, 657 (2d Cir. 1990) (“[T]he court must allow that party sufficient time to
 26 marshal his evidence and present his arguments against the issuance of the
 27 injunction.”).
 28              The Order goes well beyond the claims in the Complaint and the relief sought
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  1 in Plaintiffs’ Motion. Pac. Radiation Oncology, LLC v. Queen’s Med. Ctr., 810
  2 F.3d 631, 633 (9th Cir. 2015) (court’s authority limited to “case or controversy
  3 before it”). It mandates extraordinary relief on an extremely tight timeline, some of
  4 which Plaintiffs never asked for. As a result, the County did not have an
  5 opportunity to address: (i) the legal bases for the Order; (ii) the facts the Court
  6 relied on; or (iii) the relief ordered. This approach exceeds the Court’s authority and
  7 violates Rule 65(a)(1). See Qureshi, 600 F.3d at 526 (vacating injunction for lack of
  8 notice); Weitzman, 897 F.2d at 657-58 (same).
  9                           (b)    Armstrong Does Not Apply
 10              The Court relies on Armstrong v. Brown, 768 F.3d 975 (9th Cir. 2014), for the
 11 proposition that it “may order injunctive relief on its own motion and is not
 12 restricted to ordering the relief requested by a party” [Dkt. 277 at 66], but that case
 13 involves circumstances not present here.
 14              In Armstrong, the court modified a permanent injunction, and it did so in
 15 response to the plaintiffs’ request for an order to show cause why the State should
 16 not be held in contempt for failing to comply with the injunction, which had been in
 17 place for five years. 768 F.3d at 978-79. The State opposed the request. Id. at 979.
 18 After considering the arguments and evidence submitted, the court found that the
 19 State had not complied with the injunction, but, “in an abundance of caution,”
 20 concluded that the injunction “might not have stated these requirements clearly
 21 enough and, instead of holding the State in contempt, issued an injunction clarifying
 22 the State’s . . . obligations.” Id. The court gave the State “more than a month to
 23 prepare its written submission” responding to the proposed modification. Id. at 980.
 24              Noting that “a district court may sua sponte order or modify injunctive relief,”
 25 the Court of Appeals concluded that the district court was “not limited to ordering
 26 the relief requested by Plaintiffs and acted well within its authority in modifying its
 27 previous order.” 768 F.3d at 980. In doing so, the Court of Appeals reasoned that
 28 “[a]ny unfairness that might have resulted from modifying the [injunction] in
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  1 response to the motion for contempt was cured when the court informed the State
  2 that it was instead considering a modification and gave the State an opportunity to
  3 respond in writing to the proposed changes.” Id.
  4              None of the circumstances that warranted the sua sponte modification in
  5 Armstrong are present in this case. The Court did not notify the parties that it was
  6 going to exceed the bounds of the Motion or rely on claims not pleaded in the
  7 Complaint. Instead, the Court issued a 110-page order less than 24 hours after the
  8 County, City, and Intervenors filed their oppositions. [Dkt. 277.] The Court did not
  9 offer an opportunity for supplemental briefing, nor did it hold a hearing. [Id.]
 10                           (c)    The Order Is Not Supported by Competent Evidence
 11              A preliminary injunction is an extraordinary and drastic remedy and “should
 12 not be granted unless the movant, by a clear showing, carries the burden of
 13 persuasion.” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (citation omitted)
 14 (noting “the requirement for substantial proof is much higher” for a preliminary
 15 injunction than for summary judgment). Each of the elements of a preliminary
 16 injunction must be established by competent evidence. Id. (reversing preliminary
 17 injunction for “insufficient evidence” to establish a likelihood of prevailing on the
 18 merits); Am. Passage Media Corp. v. Cass Commc’ns, Inc., 750 F.2d 1470, 1473
 19 (9th Cir. 1985) (reversing preliminary injunction for insufficient evidence of
 20 irreparable injury); Checker Motors Corp. v. Chrysler Corp., 405 F.2d 319, 322 (2d
 21 Cir. 1969) (affirming denial of a temporary restraining order where “[n]o evidence”
 22 was offered to support plaintiff’s claim).
 23              Here, the Court states that the Order did not rely on the evidence Plaintiffs
 24 cited in the Motion. [Dkt. 277 at 66 n.411.] Instead, the Order includes 65 pages of
 25 background facts. [Id. at 1-65.] It covers race, health and safety, and gender. [Id.]
 26 The historical context section stretches back to the early twentieth century. [Id. at 4-
 27 8.] The Order attacks government policies dating back to 1910, with a focus on
 28 highways, the City’s containment zone, and housing inequities. [Id. at 9-17, 20-31.]
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  1              The County did not have an opportunity to address any of these “facts” in its
  2 opposition. Nowhere in the 65 pages of facts are any facts about Plaintiffs. The
  3 County understands, and agrees, that the homelessness crisis is the result of
  4 complicated, historical factors. But this case is not about how to solve
  5 homelessness. It is about Plaintiffs’ claims against the County and City. There is
  6 no evidence in the record to support those claims, much less to conclude that
  7 Plaintiffs showed a likelihood of success on the merits to support a mandatory
  8 injunction against the County.
  9                    2.     Plaintiffs Lack Standing
 10              Standing is an essential and unchanging part of the case-or-controversy
 11 requirement of Article III. DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342
 12 (2006). A plaintiff must establish standing throughout the litigation. Juliana v.
 13 United States, 947 F.3d 1159 (9th Cir. 2020) (affirming denial of preliminary
 14 injunction because plaintiffs lacked Article III standing).
 15              To have Article III standing, a plaintiff must establish that (1) he or she
 16 suffered an “injury in fact”; (2) there is a fairly traceable connection to the alleged
 17 conduct of the defendant; and (3) the injury can be redressed by a federal court.
 18 Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 103 (1998) (citation omitted).
 19                           (a)    There Is No “Injury in Fact”
 20              There is no “injury in fact.” Alleged injuries to third parties—here, PEH in
 21 Skid Row—cannot be used to support Article III standing. Warth v. Seldin, 422
 22 U.S. 490, 499-500 (1975) (plaintiffs must “assert [their] own legal rights and
 23 interests, and cannot rest [their] claim to relief on the legal rights or interests of third
 24 parties”); Linda R.S. v. Richard D., 410 U.S. 614, 619 (1973) (“[A] private citizen
 25 lacks a judicially cognizable interest in the prosecution or nonprosecution of
 26 another.”); see Lewis v. Casey, 518 U.S. 343, 350 (1996) (“If . . . a healthy inmate
 27 who had suffered no deprivation of needed medical treatment were able to claim
 28 violation of his constitutional right to medical care simply on the ground that the
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  1 prison medical facilities were inadequate, the essential distinction between judge
  2 and executive would have disappeared: it would have become the function of the
  3 courts to assure adequate medical care in prisons.” (citation omitted)).
  4              Here, Plaintiffs are not PEH. They are primarily Skid Row business owners
  5 who want PEH off their streets. Plaintiffs do not allege that they are members of a
  6 race-based class, but that is the basis of the Court’s order. (Compl. ¶ 186; Dkt. 277
  7 at 79-86.) Plaintiffs do not have standing to bring those claims.
  8                           (b)    Plaintiffs’ Alleged Injuries Are Not Traceable to the
  9                                  County
 10              Plaintiffs must establish that their injuries are “fairly traceable” to the
 11 County’s alleged misconduct. Wash. Envtl. Council v. Bellon, 732 F.3d 1131, 1141
 12 (9th Cir. 2013) (citation omitted). Plaintiffs claim they have suffered injuries as a
 13 result of the increase of homeless encampments in Skid Row, but it is widely
 14 recognized that a variety of factors contribute to homelessness. Plaintiffs did not
 15 show that the increase in homeless encampments on Skid Row was caused by the
 16 County, nor does the Order. See Warth, 422 U.S. at 508-10 (taxpayers lacked
 17 standing to challenge zoning regulations as the link between their increased tax
 18 burden to fund low-income housing in their own town was not sufficiently linked to
 19 the alleged failure to support low-income housing in a neighboring town); Linda
 20 R.S., 410 U.S. at 617-18 (plaintiff lacked standing to challenge district attorney’s
 21 failure to prosecute fathers for delinquent child support because the link between
 22 unpaid support and prosecutorial discretion was too attenuated).
 23                           (c)    Plaintiffs Cannot Show Redressibility
 24              “To establish Article III redressibility, the plaintiffs must show that the relief
 25 they seek is . . . within the district court’s power to award.” Juliana, 947 F.3d at
 26 1170. “As the Supreme Court recently explained, ‘a constitutional directive or legal
 27 standards’ must guide the courts’ exercise of equitable power.” Id. at 1173 (quoting
 28 Rucho v. Common Cause, 139 S. Ct. 2484, 2508 (2019)). “Absent those standards,
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  1 federal judicial power could be ‘unlimited in scope and duration,’ and would inject
  2 ‘the unelected and politically unaccountable branch of the Federal Government
  3 [into] assuming such an extraordinary and unprecedented role.’” Id. (alteration in
  4 original) (quoting Rucho, 139 S. Ct. at 2507).
  5              Going back almost 50 years, the Supreme Court rejected this type of
  6 interference with matters of local policy. In Rizzo v. Goode, 423 U.S. 362 (1976),
  7 the Supreme Court held that an injunction was “an unwarranted intrusion by the
  8 federal judiciary into the discretionary authority committed to [city officials] by
  9 state and local law to perform their official functions.” 423 U.S. at 366. “[F]ederal
 10 courts must be constantly mindful of the ‘special delicacy of the adjustment to be
 11 preserved between federal equitable power and State administration of its own
 12 law.’” Id. at 378 (citation omitted). Thus, a plaintiff seeking to enjoin a
 13 government agency “must contend with ‘the well-established rule that the
 14 Government has traditionally been granted the widest latitude in the “dispatch of its
 15 own internal affairs.”’” Id. at 378-79 (citations omitted).
 16              The Supreme Court reaffirmed the limited scope of federal equity power in
 17 Lewis v. Casey, 518 U.S. 343 (1996). The Supreme Court held that the district
 18 court’s actions violated separation of powers,1 explaining that “it is not the role of
 19 courts, but that of the political branches, to shape the institutions of government in
 20 such fashion as to comply with the laws and the Constitution.” 518 U.S. at 349.
 21              In Horne v. Flores, 557 U.S. 433 (2009), the district court issued an
 22 injunction requiring the state to increase funding for certain programs, held the State
 23 in civil contempt for failing to do so, and rejected the State’s proposed legislation as
 24 inadequate. Arizona’s Superintendent of Public Instruction and Arizona legislators
 25 intervened, moved to purge the contempt order, and sought relief from the
 26
 27   1
     “[R]edressibility questions implicate the separation of powers.” Juliana, 947 F.3d
 28 at 1173.
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  1 injunction. The district court denied the requests, and the Court of Appeals
  2 affirmed.
  3              The Supreme Court reversed, cautioning against federal court decrees that
  4 have the effect of dictating state or local budget priorities because “[s]tates and local
  5 governments have limited funds.” 557 U.S. at 448 (citing Missouri v. Jenkins, 515
  6 U.S. 70, 131 (1995) (“A structural reform decree eviscerates a State’s discretionary
  7 authority over its own program and budgets and forces state officials to reallocate
  8 state resources and funds.”)). It held that the lower court “improperly substituted its
  9 own educational and budgetary policy judgments for those of the state and local
 10 officials to whom such decisions are properly entrusted.” Id. at 455.
 11              Here, the Court issued injunctive relief in contravention of the principles
 12 established in Rizzo, Lewis, and Horne.
 13                           (d)    Plaintiffs Lack Prudential Standing
 14              There exists a body of “judicially self-imposed limits on the exercise of
 15 federal jurisdiction,” Allen v. Wright, 468 U.S. 737, 751 (1984), “founded in
 16 concern about the proper—and properly limited—role of the courts in a democratic
 17 society,” Warth, 422 U.S. at 498. These concerns are commonly referred to as
 18 “prudential” standing. City of Los Angeles v. County of Kern, 581 F.3d 841, 845
 19 (9th Cir. 2009) (citation omitted).
 20              Plaintiffs’ generalized grievances are not redressible in the courts. United
 21 States v. Lazarenko, 476 F.3d 642, 649-50 (9th Cir. 2007. Plaintiffs lack standing as
 22 a “prudential” matter.
 23                    3.     The Claims Against the County Fail as a Matter of Law
 24                           (a)    The Constitutional Claims Do Not Support the Order
 25              Plaintiffs’ Motion lumped three constitutional claims together and argued, in
 26 four very general paragraphs, that “Defendants have violated Due Process under the
 27 Fifth and Fourteenth Amendment by adopting and implementing policies that have
 28 created danger to Plaintiffs and PEH.” [Dkt. 265 at 28:28-29:2.]
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  1              The Order dedicates 19 pages to various constitutional grounds, many of
  2 which are not pleaded in the Complaint, and props them up as the basis for issuing
  3 an injunction against the County. [Dkt. 277 at 67-86.] It is invalid for that reason
  4 alone: “A court’s equitable power lies only over the merits of the case or
  5 controversy before it.” Pac. Radiation Oncology, 810 F.3d at 633. It is also
  6 procedurally defective. The County did not have an opportunity to address these
  7 arguments, and there was no hearing or opportunity for supplemental briefing.
  8              The constitutional claims also fail on the merits:
  9                                  (i)    The Equal Protection Claim Is Untenable
 10              “The first step in equal protection analysis is to identify the [defendants’]
 11 classification of groups.” Country Classic Dairies, Inc. v. State of Montana, Dep’t
 12 of Commerce Milk Control Bureau, 847 F.2d 593, 596 (9th Cir. 1988). This is
 13 because a plaintiff must “show that the law is applied in a discriminatory manner.”
 14 Freeman v. City of Santa Ana, 68 F.3d 1180, 1187 (9th Cir. 1995). The next step is
 15 to “determine the level of scrutiny.” Country Classic Dairies, 847 F.2d at 596.
 16              Plaintiffs allege the County violated equal protection by “enforcing the law in
 17 some areas and declining to enforce the law in others,” which allowed some
 18 homeless encampments to persist. (Compl. ¶¶ 185-86.) In the Order, the Court
 19 relies on “historical constitutional violations, a persisting legacy of racially disparate
 20 impacts.” [Dkt. 277 at 71, 76-86.] This theory fails.
 21              First, there is no allegation that the County engaged in any enforcement.
 22 Taylor v. List, 880 F.2d 1040, 1045 (9th Cir. 1989) (“Liability under section 1983
 23 arises only upon a showing of personal participation by the defendant.”). The
 24 Complaint alleges that only the City failed to enforce its own anti-vagrancy laws in
 25 Skid Row. (Compl. ¶ 30.) The County does not enforce the City’s anti-vagrancy
 26 laws, within Skid Row or elsewhere.
 27              Second, Plaintiffs do not allege discrimination against a suspect class, nor do
 28 they allege that they themselves belong to a suspect class. Wayte v. United States,
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                                                  13                   Case No. 2:20-cv-02291 DOC-KES
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  1 470 U.S. 598, 608 (1985) (“It is appropriate to judge selective prosecution claims
  2 according to ordinary equal protection standards.”). Plaintiffs complain that
  3 homeless encampments are permitted to remain in certain places in Los Angeles.
  4 But geographic location does not establish a suspect classification. Culinary
  5 Studios, Inc. v. Newsom, No. 1:20-CV-1340 AWI EPG, 2021 WL 427115 (E.D. Cal.
  6 Feb. 8, 2021) (applying the rational basis test to equal protection challenge claiming
  7 that COVID-19 policies discriminate against businesses based on their physical
  8 location); In re Tourism Assessment Fee Litig., No. 08cv1796-MMA(WMc), 2009
  9 WL 10185458 (S.D. Cal. Feb. 19, 2009) (applying rational basis review to equal
 10 protection challenge to state program that granted favorable treatment to persons
 11 who rented cars at airports as opposed to other locations). Plaintiffs do not allege
 12 that they are members of a race-based class. Nonetheless, racial discrimination is
 13 the foundation of the Court’s Order. (Compl. ¶ 186; Dkt. 277 at 79-86.)
 14              The rational basis test applies. Hodel v. Indiana, 452 U.S. 314, 331 (1981)
 15 (laws that do not “employ suspect classifications or impinge on fundamental rights
 16 must be upheld against equal protection attack when the legislative means are
 17 rationally related to a legitimate governmental purpose”). Under rational basis
 18 review, the presumption that governmental decision-making is rational “can only be
 19 overcome by a clear showing of arbitrariness and irrationality.” Hodel, 452 U.S. at
 20 331-32. Here, the Complaint alleges that the City is limited in its ability to enforce
 21 City anti-vagrancy laws due to the Ninth Circuit’s decision in Martin v. City of
 22 Boise, 920 F.3d 584 (9th Cir. 2019). (Compl. ¶ 31.) Plaintiffs’ equal protection
 23 theory is that the City’s compliance with Martin is “irrational.”
 24              Third, Plaintiffs cannot show that the County discriminated against anyone.
 25 A plaintiff bringing an equal protection challenge must show “both that the . . .
 26 system had a discriminatory effect and that it was motivated by a discriminatory
 27 purpose.” Wayte, 470 U.S. at 608-09. Plaintiffs contend that the City did not
 28 enforce its anti-vagrancy laws in Skid Row. The County has no enforcement
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  1 authority in the City and, in fact, has a “Care First” model that does not support
  2 enforcement as a solution to homelessness. Thus, Plaintiffs have not alleged and
  3 cannot allege a discrimination claim against the County under section 1983.
  4              Plaintiffs cannot allege discriminatory animus. The County has made
  5 substantial efforts to serve the needs of PEH and reduce homelessness. Plaintiffs
  6 concede this fact. (Compl. ¶¶ 2,18, 73, 74.) The Court’s reference to “historical
  7 constitutional violations” cannot bolster Plaintiffs’ claims (especially claims they
  8 have not even made against the County in the Complaint). [Dkt. 277 at 71.2]
  9                                  (ii)   There Is No State-Created Danger
 10              The Court also relies on the state-created danger doctrine. [Dkt. 277 at 71-
 11 75.] That doctrine is a theory of substantive due process liability. Kennedy v. City
 12 of Ridgefield, 439 F.3d 1055, 1061-62 (9th Cir. 2006). Generally, “members of the
 13 public have no constitutional right to sue [public] employees who fail to protect
 14 them against harm inflicted by third parties.” L.W. v. Grubbs, 974 F.2d 119, 121
 15 (9th Cir. 1992). The “state-created danger” doctrine is a narrow exception that
 16 permits a plaintiff to sue officers who fail “to protect a person’s interest in his
 17 personal security or bodily integrity when the [officer] affirmatively and with
 18 deliberate indifference placed that person in danger.” Pauluk v. Savage, 836 F.3d
 19 1117, 1122 (9th Cir. 2016).
 20              To assert a “state-created danger” claim, the plaintiff must prove that the
 21 officials (1) created an actual, particularized danger through their own affirmative
 22 conduct, and (2) acted with deliberate indifference to a known or obvious danger.
 23 Patel v. Kent Sch. Dist., 648 F.3d 965, 974 (9th Cir. 2011). In addition, a municipal
 24   2
        The Court theorizes that “state inaction has become state action that is strongly
 25   likely in violation of the Equal Protection Clause.” [Dkt. 277 at 78; see also 76-79.]
 26   The Court “acknowledges that this conclusion advances equal protection
      jurisprudence.” [Id.] This theory is also not pleaded in the Complaint or argued in
 27   the Motion, and therefore cannot serve as the basis for relief against the County
 28   here. Pac. Radiation Oncology, 810 F.3d at 633.

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  1 government, such as the County, cannot be vicariously liable under section 1983.
  2 Monell v. Dep’t of Soc. Servs. of City of New York, 436 U.S. 658, 691-92 (1978).
  3 To assert a “state-created danger” claim against the County, Plaintiffs must further
  4 allege that the County is directly responsible for the conduct of its employees
  5 through a recognized theory of municipal liability. Id.
  6              Plaintiffs admit the County makes substantial efforts to serve the needs of
  7 PEH and reduce homelessness. (Compl. ¶¶ 2, 18, 73, 74.) Neither the Motion nor
  8 the Order identifies any actual, particularized danger the County created for
  9 Plaintiffs. Instead, the Order describes a general “history of structural racism,
 10 spanning over a century” as evidence of a “state-created disaster.” [Dkt. 277 at 72.]
 11 These generalized averments, not tethered to Plaintiffs, their Complaint, or any
 12 actions taken by County officials, cannot support the extraordinary relief granted by
 13 the Court. Valley Forge Christian Coll. v. Ams. United for Separation of Church &
 14 State, Inc., 454 U.S. 464, 474-75 (1982) (“[T]he Court has refrained from
 15 adjudicating ‘abstract questions of wide public significance’ which amount to
 16 ‘generalized grievances,’ pervasively shared and most appropriately addressed in the
 17 representative branches.” (quoting Warth, 422 U.S. at 499-500)). The state-created
 18 danger doctrine does not apply.3
 19                                  (iii)   The County Did Not Violate Plaintiffs’
 20                                          Substantive Due Process Rights
 21              While Plaintiffs barely address substantive due process, the Order dedicates
 22 seven pages to that claim. [Dkt. 277 at 79-86.] The Order finds that the “practice of
 23 disrupting unhoused Black families’ constitutional right to family integrity by
 24 compounding structural racism in present day policies is sufficient to find Plaintiffs
 25 have a likelihood of success on their due process claim.” [Id. at 86.]
 26   3
      The Court also includes the “special relationship” exception, which is not pleaded
 27 in the Complaint or argued in the Motion, but appears to apply it only to the City.
 28 [Dkt. 277 at 75-76.]
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  1              A substantive due process claim requires “the plaintiff’s showing of a liberty
  2 or property interest protected by the Constitution.” Wedges/Ledges of Cal., Inc. v.
  3 City of Phoenix, Ariz., 24 F.3d 56, 62 (9th Cir. 1994). Substantive due process
  4 usually applies to matters relating to marriage, family, procreation, and the right to
  5 bodily integrity. Albright v. Oliver, 510 U.S. 266, 272 (1994).
  6              A substantive due process claim that does not involve fundamental rights
  7 requires proof that the government’s conduct was “clearly arbitrary and
  8 unreasonable, having no substantial relation to the public health, safety, morals, or
  9 general welfare.” Village of Euclid, Ohio v. Ambler Realty Co., 272 U.S. 365, 395
 10 (1926); County of Sacramento v. Lewis, 523 U.S. 833, 845-49 (1998) (substantive
 11 due process prohibits arbitrary deprivation of individuals’ liberty by government).
 12              Here, Plaintiffs do not contend the County violated their fundamental rights.
 13 In fact, Plaintiffs do not even specify what constitutional rights underlie their claim.
 14 (See Compl. ¶¶ 185-86.) At best, Plaintiffs, who are business owners and residents,
 15 allege they suffered economic harms, such as lost business, increased costs, and lost
 16 property value as a result of encampments in Skid Row. (Id.) As these are not
 17 fundamental rights, Plaintiffs’ theory is necessarily limited to a claim that the
 18 County violated their rights through arbitrary action. County of Sacramento, 523
 19 U.S. at 845-49; Village of Euclid, 272 U.S. at 395.
 20              Plaintiffs “shoulder a heavy burden.” Halverson v. Skagit County, 42 F.3d
 21 1257, 1262 (9th Cir. 1994). They must allege that the County “could have had no
 22 legitimate reason for its decision.” Id. (quoting Kawaoka v. City of Arroyo Grande,
 23 17 F.3d 1227, 1234 (9th Cir. 1994)). If the County’s conduct was rationally related
 24 to a legitimate governmental interest, there is no due process violation. Id.
 25              Plaintiffs have not alleged that the County acted irrationally or arbitrarily.
 26 Rather, the Complaint attacks decisions made by the City in response to federal
 27 court cases in which the County was not a party. (Compl. ¶ 186 (alleging that the
 28 City “had no rational basis” for entering into a settlement in the Mitchell case and
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  1 for relying on that settlement to not enforce anti-vagrancy laws in Skid Row).)
  2 Plaintiffs cannot sue the County based on alleged irrational conduct by the City.
  3 Taylor, 880 F.2d at 1045 (“Liability under section 1983 arises only upon a showing
  4 of personal participation by the defendant.”).
  5              Plaintiffs must also demonstrate that the County’s conduct “shocks the
  6 conscience.” County of Sacramento, 523 U.S. at 846. This requires a showing that
  7 the County acted with an intent to injure. Id. at 849. There is no such intent here
  8 and zero evidence of it.
  9              Plaintiffs admit the County has taken substantial steps to combat the
 10 homelessness crisis. (Compl. ¶ 2 (“The City and the County combined spend over a
 11 billion dollars annually providing police, emergency, and support services to those
 12 living on the streets.”); id. ¶ 18 (the County has “gone to great lengths in the last
 13 couple years to address this crisis”); id. ¶ 73 (“[T]he City and County have made
 14 efforts to address this crisis . . .”); id. ¶ 74 (“[T]he amount of effort and resources
 15 that have been devoted to addressing this issue is considerable and admirable.”).)
 16 These admissions foreclose liability. County of Sacramento, 523 U.S. at 845-49.
 17              The Court’s expansive reading of substantive due process is untethered to the
 18 claims in this case or the Plaintiffs who brought them.
 19                           (b)    Desegregation Case Law Does Not Apply
 20              The Court previously noted that the contours of a federal court’s equitable
 21 authority has come up in other contexts, including in Brown v. Plata, and in the
 22 aftermath of Brown v. Board of Education. [Dkt. 205 at 4.] The Court
 23 acknowledged, however, that those “constitutional violations were of a different
 24 sort.” [Id.] As directed by the Court, the County explained why those two cases do
 25 not support equitable relief here. [Dkt. 235.] Yet, the Court relied on those cases in
 26 issuing the Order. [Dkt. 277 at 67-68, 78.] They do not apply.
 27                           (c)    The Mandatory Duty Claim Is Untenable
 28              The Order uses Welfare & Institutions Code section 17000 (“WIC § 17000”)
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  1 as a hook for extraordinary injunctive relief against the County by repeating a
  2 soundbite from LAHSA Executive Director Heidi Marston’s public comments that
  3 “housing is healthcare.” [Dkt. 277 at 86-90.] That soundbite does not generate a
  4 viable legal claim.
  5              To establish a claim for violation of a mandatory duty, a plaintiff must first
  6 prove that the statute at issue is “obligatory, rather than merely discretionary or
  7 permissive, in its directions to the public entity; it must require, rather than merely
  8 authorize or permit, that a particular action be taken or not taken.” Haggis v. City of
  9 Los Angeles, 22 Cal. 4th 490, 498 (2000). Further, it is not enough that the public
 10 entity has an obligation to perform a function if the function itself involves the
 11 exercise of discretion. Id.
 12              Counties have two obligations: (1) to provide general assistance (“GA”) to
 13 the indigent; and (2) to provide medically necessary care to “medically indigent
 14 persons.” Hunt v. Superior Court, 21 Cal. 4th 984, 1002-03 (1999). Section 17001
 15 leaves it to the Board of Supervisors to adopt the “standards of aid and care.” Cal.
 16 Welf. & Inst. Code § 17001 (“The board of supervisors of each county, or the
 17 agency authorized by county charter, shall adopt standards of aid and care for the
 18 indigent and dependent poor of the county or city and county.” (emphasis added)).
 19 Because the County has discretion to determine how to discharge its obligations, the
 20 mandatory duty claim fails. Haggis, 22 Cal. 4th at 498; Tailfeather v. Bd. of
 21 Supervisors, 48 Cal. App. 4th 1223, 1246 (1996) (“Achieving the mandated level of
 22 care requires the exercise of considerable discretion as the County chooses between
 23 a multitude of potential courses of action.”).
 24              The County has exercised its discretion and determined how to support its
 25 indigent residents. Plaintiffs acknowledge as much in the Complaint, describing
 26 “the significant percentage of County funds allocated to departments to address
 27 issues of homelessness, including those housed and treated in County jails,
 28 emergency treatment and transport, Department of Mental Health, LA County Fire
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  1 Department, medical treatment through various hospitals and treatment centers, and
  2 criminal prosecution and defense costs, not to mention funding General Relief and
  3 other myriad social services.” (Compl. ¶ 64.)
  4              Plaintiffs, and the Court, want the County to discharge its obligations in a
  5 different way. That is exactly what the law prohibits. Tailfeather, 48 Cal. App. 4th
  6 at 1246 (because counties have discretion to determine the type of relief they
  7 provide under WIC sections 17000 and 17001, a court’s role is limited to
  8 determining “whether the County has abused or exceeded its discretion under the
  9 governing statutes—not to dictate how that discretion must be exercised”).
 10                           (d)    The ADA Claims Do Not Apply to the County
 11              The Order lumps the County in with the City for its discussion of Plaintiffs’
 12 ADA claims. [Dkt. 277 at 90-91.] Plaintiffs did not name the County in those
 13 claims (the Eighth, Ninth, and Tenth Causes of Action). (Compl. ¶¶ 167-183.) Nor
 14 did Plaintiffs include any ADA-related argument about the County in the Motion.
 15 [Dkt. 265 at 33:11-35-14.] The ADA claims cannot be the basis for relief against
 16 the County. Pac. Radiation Oncology, 810 F.3d at 633.
 17                    4.     Plaintiffs Did Not Establish Irreparable Harm
 18              An injunction requires a showing that irreparable harm will likely result
 19 without the injunction. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)
 20 (rejecting the Ninth Circuit’s “possibility” standard as “too lenient”; plaintiffs must
 21 show that “irreparable injury is likely in the absence of an injunction”).
 22              Harm to third parties does not constitute irreparable harm. Winter, 555 U.S.
 23 at 20 (“A plaintiff seeking a preliminary injunction must establish . . . that he is
 24 likely to suffer irreparable harm in the absence of preliminary relief . . . .” (emphasis
 25 added)); Immigrant Legal Res. Ctr. v. City of McFarland, 827 F. App’x 749, 751-52
 26 (9th Cir. 2020) (mem.) (holding that the district court abused its discretion in finding
 27 a likelihood of irreparable harm because “the district court focused its irreparable
 28 harm analysis on the prospect of harm to third parties [but] [t]he standard for
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  1 preliminary injunctions, however, requires irreparable harm to the plaintiffs
  2 themselves”).
  3              The Order states: “No harm could be more grave or irreparable than the loss
  4 of life.” [Dkt. 277 at 92.] But Plaintiffs are not PEH living in Skid Row, and they
  5 are not at risk of dying. Plaintiffs are largely business owners in Skid Row, with the
  6 exception of one Plaintiff who owns an auto-repair shop in Mar Vista. (Compl.
  7 ¶¶ 77-106, 108, 112-22.) Thus, the harms suffered by PEH—who are third parties
  8 to this lawsuit—cannot be used as a basis for the Order.
  9              Plaintiffs are arguably adverse to PEH, as they demand the City enforce anti-
 10 vagrancy laws against PEH. Plaintiffs want all PEH out of Skid Row immediately,
 11 with no regard for where those individuals want to go or whether suitable supportive
 12 housing is available in the next 90 days. The County’s approach focuses on
 13 individual relationships and trust building. The Order ignores this human aspect of
 14 the homelessness crisis. It is more likely to cause irreparable harm than avoid it.
 15                    5.     Plaintiffs Made No Showing on the Remaining Elements
 16              When the government is the defendant, the final two Winter factors (balance
 17 of equities and public interest) merge together. Plaintiffs did not make any showing
 18 that the injunction is in the public interest. The County, in contrast, explained why
 19 it would not be (as did the City and Intervenors). The Order simply states that
 20 Plaintiffs satisfied both factors because they “demonstrated the likelihood of a
 21 deprivation of their constitutional rights.” [Dkt. 277 at 92, 93.]
 22                    6.     The Order Is Impermissibly Vague
 23              An injunction must “state its terms specifically” and “describe in reasonable
 24 detail . . . the act or acts restrained or required.” Fed. R. Civ. P. 65(d)(1). A vague
 25 injunction cannot be enforced. Del Webb Communities, Inc. v. Partington, 652 F.3d
 26 1145, 1150 (9th Cir. 2011) (injunction prohibiting home inspections from using
 27 “illegal, unlicensed and false practices” is “too vague to be enforceable”). The
 28 vagueness of the Order here has already resulted in one “clarification.” [Dkt. 279.]
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  1              B.      The County And The Public Will Be Irreparably Harmed Absent
  2                      A Stay
  3              Courts find irreparable harm where injunctions interfere with government
  4 functions. Maryland v. King, 567 U.S. 1301, 1303 (2012) (finding irreparable harm
  5 where injunction interfered with the state’s “law enforcement and public safety
  6 interests”); New Motor Vehicle Bd. of Cal. v. Orrin W. Fox. Co., 434 U.S. 1345,
  7 1351 (1977) (“[A]ny time a State is enjoined by a court from effectuating statutes
  8 enacted by representatives of its people, it suffers a form of irreparable injury.”).
  9              Here, the Court’s injunction usurps the County’s authority, substitutes is
 10 judgment for that of elected officials, and runs head-on into voter-endorsed, Board-
 11 approved policies, like Measure H, and state law, like the Mental Health Services
 12 Act. It orders the County to dedicate funds and resources to conducting audits and
 13 investigations. [Dkt. 277 at 106.] It even goes so far as to propose commandeering
 14 County property, ordering “the cessation of sales, transfers by lease or covenant
 15 of . . . all similarly situated properties held by the County.” [Id. at 107.]
 16              This intrusion into local affairs will irreparably harm the County and its
 17 constituents. In its opposition to the Motion, the County explained why both the
 18 County and the public would be irreparably harmed if the Court were to grant the
 19 requested relief [Dkt. 270, 274], as did the City [Dkt. 269] and Intervenors [Dkt.
 20 275-276]. As set forth in those papers and the concurrently filed declarations of
 21 Cheri Todoroff, Matt McGloin, and Vanessa Moody, irreparable harm is an even
 22 greater risk now that the Court has issued an Order that goes far beyond Plaintiffs’
 23 requested relief. For example:
 24                    Implementation would interfere with the provision of services, which
 25                      are provided throughout the County (not just in Skid Row);
 26                    To even attempt to comply with the terms of the requested injunction,
 27                      the County would have to pull resources from other areas, which would
 28                      mean disproportionately directing services with resulting inequities;
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  1                    Diverting resources to emergency, interim housing would only
  2                      exacerbate the existing backlog of residents seeking permanent
  3                      housing;
  4                    Because the interim housing resources that exist are occupied, and
  5                      because constructing 2,093 new beds in 90 days is simply not feasible,
  6                      issuing the requested injunction would actually require the County to
  7                      move current residents out of their housing resources to move the
  8                      Skid Row population in;
  9                    Forcing relocation undermines the County’s goal of achieving long-
 10                      term results by building relationships with PEH and helping them find
 11                      permanent housing and services; and
 12                    Mandating that the County cease sales and transfers of certain
 13                      properties would impact properties designated to be used for other
 14                      public purposes (including shelter/housing for PEH, schools, etc.).
 15              The Court’s Order threatens to upend local government and throw the
 16 County’s homeless services delivery into chaos. Under these circumstances, the
 17 likelihood of severe irreparable harm to the County and the public weighs heavily in
 18 favor of a stay. Lair v. Bullock, 697 F.3d 1200, 1214-15 (9th Cir. 2012) (State of
 19 Montana demonstrated probability of irreparable harm where citizens had “a deep
 20 interest in fair elections,” allowing injunction to remain in place pending appeal
 21 “could throw a previously stable system into chaos,” and consequences from
 22 disrupting campaign contribution laws during an election would be “irreversible”).
 23              C.      A Stay Will Not Substantially Injure Any Interested Parties
 24              In contrast to the grave irreparable harm that the County and the public will
 25 suffer if the Order is not stayed, a stay will not injure Plaintiffs, Intervenors, or any
 26 other stakeholders. Plaintiffs, downtown business owners and residents, will not be
 27 harmed by pausing the County’s directive to relocate all PEH in Skid Row. Even
 28 the individuals who the Order is intended for will not be injured by a stay. Because
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  1 they are not parties to this lawsuit, it is unclear if they would even support the
  2 ordered relocation measures. And the County does not intend to suspend its
  3 ongoing efforts to serve PEH in Skid Row. Under these circumstances, “the balance
  4 of interests falls resoundingly in favor of the public interest.” Lair, 697 F.3d at
  5 1215.
  6              D.    The Public Interest Favors A Stay
  7              The public has an interest in government policies that take into account all
  8 potential ramifications and weigh the interests of all relevant stakeholders. Ariz.
  9 Democratic Party v. Hobbs, 976 F.3d 1081, 1086 (9th Cir. 2020) (granting stay
 10 pending appeal and holding that public interest served by preserving existing laws,
 11 “rather than by sending the State scrambling to implement and to administer a new
 12 procedure”); Golden Gate Rest. Ass’n v. City & County of San Francisco, 512 F.3d
 13 1112, 1127 (9th Cir. 2008) (granting stay pending appeal regarding
 14 passage/implementation of City ordinance mandating minimum levels of health care
 15 expenditures by private employers, where the City and County had a “probability,
 16 even a strong likelihood, of success in their argument,” and the public interest would
 17 be served by the stay); United States v. Real Prop. & Improvements Located at 2366
 18 San Pablo Ave., Berkeley, Cal., No. 13-cv-02027-JST, 2015 WL 525711, at *4
 19 (N.D. Cal. Feb. 6, 2015) (granting City of Berkeley’s motion to stay, recognizing
 20 the public interest in “properly enacted local ordinance”).
 21              The County explained why the injunction would not benefit PEH or the
 22 public more generally, as did Intervenors. [Dkt. 270, 275, 276.] The United Way of
 23 Greater Los Angeles also weighed in. [Dkt. 253, 273.] Intervenors submitted
 24 declarations from third-party experts: a law professor and homeless advocate, the
 25 president of a nonprofit urban research organization, a clinical-community
 26 psychologist and founder of the Pathways Housing First Institute, and the Director
 27 of Public Policy and Community Organizing at Community Housing Partnership.
 28 [Dkt. 275, 276.] The Court did not address any of these declarations in its Order.
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  1              Intervenors and their declarants, unlike Plaintiffs and the Court, are embedded
  2 in the community and more aptly able to weigh the public interest. Intervenors
  3 explained: “Plaintiffs ask this Court to grant an incredibly broad, mandatory
  4 injunction that would require the City and County to radically reshift their priorities
  5 and practices away from a needs-based system of care and towards a location-based
  6 model of housing, and then deploy its police force to enforce an anti-camping
  7 ordinance against some of the most vulnerable members of the community.” [Dkt.
  8 275 at 12:14-19.] Intervenors argued, using expert declarations in support, that the
  9 requested relief “would have a significant negative impact not only on people living
 10 in Skid Row, but also to those people experiencing homelessness outside of Skid
 11 Row, and the community as a whole . . . it will elevate form over substance, offers
 12 of shelter over real housing solutions.” [Id. at 12:25-13:3.] It would “undermine
 13 any progress currently being made towards actually finding housing solutions for
 14 people on Skid Row and throughout Los Angeles.” [Id. at 13:3-5.]
 15              The County’s policies are the product of community meetings, information
 16 gathering from relevant stakeholders, and expert analysis. In contrast, the Court’s
 17 mandatory injunction emerged in a vacuum with limited guidance from Plaintiffs—
 18 who are not elected officials, policy experts, or even PEH. In these circumstances,
 19 the Court should defer to the County’s consideration of the public interest. Golden
 20 Gate Rest. Ass’n, 512 F.3d at 1126-27 (“Finally, our consideration of the public
 21 interest is constrained in this case, for the responsible public officials in San
 22 Francisco have already considered that interest.”).
 23 VI.          CONCLUSION
 24              The County respectfully requests that the Court grant the ex parte application
 25 and stay the April 20, 2021 preliminary injunction Order [Dkt. 277] pending appeal.
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                                                By:
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  1                                  CERTIFICATE OF SERVICE
  2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
  3        At the time of service, I was over 18 years of age and not a party to this
    action. I am employed in the County of Los Angeles, State of California. My
  4 business address is 1999 Avenue of the Stars, Suite 1000, Los Angeles, CA 90067.
  5         On April 23, 2021, I served true copies of the following document(s)
      described as:
  6
    EX PARTE APPLICATION TO STAY COURT’S APRIL 20, 2021 ORDER
  7 [DKT. 277] PENDING APPEAL
  8 on the interested parties in this action as follows:
  9                               SEE ATTACHED SERVICE LIST
 10        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
    the document(s) with the Clerk of the Court by using the CM/ECF system.
 11 Participants in the case who are registered CM/ECF users will be served by the
    CM/ECF system. Participants in the case who are not registered CM/ECF users will
 12 be served by mail or by other means permitted by the court rules.
 13       I declare under penalty of perjury under the laws of the United States of
    America that the foregoing is true and correct and that I am employed in the office
 14 of a member of the bar of this Court at whose direction the service was made.
 15              Executed on April 23, 2021, at Los Angeles, California.
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 19                                                    Alexandria Alamango
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                  LA Alliance for Human Rights, et al. v. City of Los Angeles, et al.
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                                     Case No. 2:20-cv-02291
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                 EX PARTE APPLICATION TO STAY COURT’S APRIL 20, 2021 ORDER PENDING APPEAL
